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N 2016
UNITED STATES DISTRICT COURT JU 1` 6
SOUTHERN DISTRICT OF TEXAS ~~
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UNITED STATES OF AMERICA §
§ Criminal No.
v. §
§ gvDER sEAL
DR. SOHAIL R. SIDDIQUI and §
sTARsKY D. BoMER, § 1 6 CR 0 2 5 7
§
Defendants. §
INDICTMEI\[[_ n
§ §§Udl@€`
The Grand Jury charges: q Yniil§r‘ rand tinx)i‘;i`icial staffa(.m, . .

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General Allegations : ,

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At all times material to this Indictment, unless otherwise specified:

l. The Medicare Program (“Medicare”) was a federal healthcare program providing
benefits to individuals who were over the age of 65 oi' disabled Medicare was administered by
the Centers for Medicare and Medicaid Services (“CMS”), a federal agency under the United
States Department of Health and Human Services. Medicare was a “healthcare benefit program”
as defined by Title 18, United States Code, Section 24(b).

2. Medicare was subdivided into multiple Parts. Medicare Part B covered partial
hospitalization programs (“PHPS”) connected with the treatment of mental illness. The treatment
program of PHPS closely resembled that of a highly structured, short-tenn hospital inpatient
program, but it was a distinct and organized intensive treatment program that offered less than
24-hour daily care.

3. Patients eligible for Medicare coverage of a PHP comprised two groups: (l)

those patients who were discharged from an inpatient hospital treatment program, and the PHP is

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in lieu of continued inpatient treatment; and (2) those patients Who, in the absence of partial
hospitalization, would require inpatient hospitalization,

4. Medicare guidelines required that patients admitted to a PHP require PHP
services at levels of intensity and frequency comparable to patients in an inpatient setting for
similar psychiatric illnesses.

5. Under the PHP benefit, Medicare covered the following services: (l) individual
and group psychotherapy with physicians, psychologists or other mental health professionals; (2)
occupational therapy requiring the skills of a qualified occupational therapist; (3) services of
social workers, trained psychiatric nurses and other staff trained to work with psychiatric
patients; (4) drugs and biologicals furnished for therapeutic purposes that could not be self-
administered; (5) individualized activity therapies that were not primarily recreational
or diversionary; (6) family counseling services for which the primary purpose was the treatment
of the patient’s condition; (7) patient education programs where the educational activities were

closely related to the care and treatment of the patient; and (8) diagnostic services

6. Medicare guidelines specifically excluded meals and transportation from coverage
under the PHP benefit.
7. Medicare did not cover programs providing primarily social, recreational or

diversionary activities. Medicare excluded from coverage programs attempting to maintain
psychiatric wellness and treatment of chronic conditions without acute exacerbation.
Psychosocial programs that provided only a structured environment, socialization or vocational
rehabilitation were not covered by Medicare.

8. Medicare required that the PHP was provided at a facility that was based in or

affiliated with a hospital or provided at a community mental health center.

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9. Individuals who qualified for Medicare benefits were commonly referred to as
Medicare “beneficiaries.” Each beneficiary was given a Medicare identification number.

l(). Hospitals, physicians and other healthcare providers that provided services to
Medicare beneficiaries were referred to as Medicare "‘providers.” To participate in Medicare,
providers were required to submit an application in which the providers agreed to comply with
all Medicare related laws and regulations lf Medicare approved a provider’s application,
Medicare assigned the provider a Medicare “provider number.” A healthcare provider with a
Medicare provider number could file claims with Medicare to obtain reimbursement for services
rendered to beneficiaries.

ll. Medicare paid hospitals and other healthcare providers for services rendered to
beneficiaries To receive payment from Medicare, providers submitted or caused the submission
of claims to Medicare, either directly or through a billing company.

l2. CMS contracted with Medicare Administrative Contractors (“MACs”) to process
claims for payment. The MAC that processed and paid Medicare Part B claims for PHP services
in Texas was TrailBlazer Health Enterprises, LLC (“TrailBlazer”).

13. To bill Medicare for services rendered, a provider submitted a claim form (Form
1500) to TrailBlazer. When a Form 1500 was submitted, usually in electronic form, the provider
certified that: (l) the contents of the form were true, correct and complete; (2) the form was
prepared in compliance with the laws and regulations governing Medicare; and (3) the contents
of the claim were medically necessary.

14. A Medicare claim for PHP reimbursement was required to set forth the following,
among other things: the beneficiary’s name and unique Medicare identification number; the item

or service provided to the beneficiary; the date the item or service was provided; the cost of the

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item or service; and the name and unique physician identification number of the physician who
prescribed or ordered the item or service.
The Defendants and Hospital A

15 . A Texas limited partnership did business as a long-term acute care hospital
(“Hospital A”) in Stafford, Texas.

16. Defendant DR. SOHIAL R. SIDDIQUI, a resident of Fort Bend County, Texas,
was part-owner and manager of Hospital A.

l7. Defendant STARSKY D. BOMER, a resident of Galveston County, Texas, was
the Chief Financial Officer (“CFO”) and Chief Operating Officer (“COO”) of Hospital A.

18. Co-Conspirator l (“CC-l”) owned and operated Extra Care PHP located in
Houston, Texas.

l9. In or about March 2011, defendant DR. SOHAIL R. SIDDIQUI, CC-l, and
others agreed to operate Extra Care PHP as an outpatient department of Hospital A. In or about
April 2011, defendants DR. SOHAIL R. SIDDIQUI and STARSKY D. BOMER, CC-l, their
co-conspirators, and others changed Extra Care PHP’E‘. name to “TriMed Partial Hospitalization
Program” (“TriMed PHP”) and operated TriMed PHP from a strip mall located at 3505 South
Dairy Ashford Street in Houston.

20. In or about August 2011, defendants DR. SOHAIL R. SIDDIQUI and
STARSKY D. BOMER, their co-conspirators, and others opened a second outpatient
department of Hospital A that they operated as a PHP named “Liberty Partial Hospitalization
Program” (“Liberty PHP”). Liberty PHP operated from inside a community center that was

located at 9009 Boone Road in Houston.

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21. Defendants DR. SOHAIL R. SIDDIQUI and STARSKY D. BOMER, their co-
conspirators, and others operated and managed TriMed PHP and Liberty PHP (collectively the
“Hospital A PHPS”) and directed their day-to-day operations

22. Co-Conspirator 2 (“CC-Z”), a resident of Fort Bend County, Texas, owned group
homes that CC-2 rented to Medicare beneficiaries and others CC-2 acted as patient recruiter or
“marketer” for Hospital A’s PHPs and other PHPs CC-2 referred Medicare beneficiaries who
lived in CC-Z’s group homes and elsewhere to Hospital A’s PHPs and other PHPs in exchange
for kickbacks

23. Co-Conspirator 3 (“CC-3”) operated a van service that transported Medicare
beneficiaries who were referred to Hospital A’s PHPs by CC-Z and other marketers CC-3 paid
CC-Z kickbacks for transporting CC-Z’s Medicare beneficiaries to and from Hospital A’s PHPs
each day.

24. Hospital A submitted claims to Medicare for PHP and other services that
defendants DR. SOHAIL R. SIDDIQUI and STARSKY D. BOMER, their co-conspirators,
and others purported to provide to Medicare beneficiaries at Hospital A and Hospital A’s PHPs
The Defendants and Pristine Hospital of Pasadena

25. Pristine Healthcare LLC d/b/a “Pristine Hospital of Pasadena” (“Pristine”) was a
general care hospital located at 1004 Seymour Street in Pasadena, Texas. Defendants DR.
SOHAIL R. SIDDIQUI and STARSKY D. BOMER were part-owners of Pristine. Defendant
DR. SOHAIL R. SIDDIQUI was also Pristine’s registered agent and manager

26. Defendants DR. SOHAIL R. SIDDIQUI and STARSKY D. BOMER obtained

a Medicare provider for Pristine.

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27. In or about August 2012, defendants DR. SOHAIL R. SIDDIQUI and
STARSKY D. BOMER, their co-conspirators, and others stopped operating the Hospital A
PHPs as outpatient departments of Hospital A and began operating them as outpatient
departments of Pristine. Defendants DR. SOHAIL R. SIDDIQUI and STARSKY D. BOMER,
their co-conspirators, and others changed the names of TriMed PHP and Liberty PHP to “Pristine
PHP Southwest” and “Pristine PHP Liberty,” respectively, but continued to operate the PHPs
from 3505 South Dairy Ashford Street and 9009 Boone Road in Houston.

28. In or about October 2012, Pristine opened a third outpatient department that
defendants DR. SOHAIL R. SIDDIQUI and STARSKY D. BOMER, their co-conspirators,
and others operated as a PHP named “Pristine PHP New Horizons.” Pristine PHP New Horizons
was located at 10960 Stancliff Road in Houston.

29. CC-2 and other marketers referred Medicare beneficiaries to Pristine PHP
Southwest, Pristine PHP Liberty, and Pristine PHP New Horizons (collectively the “Pristine
PHPs”) in exchange for kickbacks

30. Pristine submitted claims to Medicare for PHP and other services that defendants
DR. SGHAIL R. SIDDIQUI and STARSKY D. BOMER, their co-conspirators, and others
purported to provide to Medicare beneficiaries at Pristine and the Pristine PHPs

ML
Conspiracy to Pay and Receive Health Care Kickbacks
(18 U.S.C. § 3'71)

31. Paragraphs 1 through 30 of this Indictment are realleged and incorporated by

reference as though fully set forth herein.

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32. From in or about March 2011, through in or about December 2013, the exact
dates being unknown to the Grand Jury, in the Houston Division of the Southem District of
Texas, and elsewhere, defendants

DR. SOHAIL R. SIDDIQUI and
STARSKY D. BOMER

did knowingly and willfully combine, conspire, confederate and agree with others known and
unknown to the grand jury, including CC-l, CC-2, and CC-3, to commit certain offenses against
the United States, that is,

a. to violate Title 42, United S'tates Code, Section 1320a-7b(b)(l), by
knowingly and willfully soliciting and receiving remuneration, specifically, kickbacks and
bribes, directly and indirectly, overtly and covertly, in return for referring individuals for the
furnishing and arranging for the fumishing of any item and service for which payment may be
made in whole or in part by Medicare; and for the purchasing, leasing, ordering and arranging for
and recommending the purchasing, leasing and ordering of any good, item and service for which
payment may be made in whole and in part by a Fede;ral health care program, that is, Medicare;
and,

b. to violate Title 42, United States Code, Section 1320a-7b(b)(2), by
knowingly and willfully offering and paying remuneration, specifically, kickbacks and bribes,
directly and indirectly, overtly and covertly, in return for referring individuals for the furnishing
and arranging for the furnishing of any item and service for which payment may be made in
whole or in part by Medicare; and for the purchasing, leasing, ordering and arranging for and
recommending the purchasing, leasing and ordering of any good, item and service for which

payment may be made in whole and in part by a Federal health care program, that is, Medicare.

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33. lt was a purpose of the conspiracy for defendants DR. SOHAIL R. SIDDIQUI
and STARSKY D. BOMER, CC-l, CC-Z, CC-3, their co-conspirators, and others to unlawfully
enrich themselves by paying and receiving kickbacks and bribes in exchange for the referral of
Medicare beneficiaries for whom Hospital A, Pristine, and others submitted claims to Medicare,

Manner and Means of the Conspiracy

34. The manner and means by which defendants DR. SOHAIL R. SIDDIQUI and
STARSKY D. BOMER, CC-l, CC-Z, CC-3, their co-conspirators, and others sought to
accomplish the purpose and object of the conspiracy included, among other things:

a. Defendants DR. SOHAIL R. SIDDIQUI and STARSKY D. BOMER, CC-l,
and others owned and managed Hospital A and, later, they owned and managed Pristine.
Defendant STARSKY D. BOMER acted as either the CFO, COO, or both of Hospital A and
Pristine.

b. Defendants SOHAIL R. SIDDIQUI and STARSKY D. BOMER, their co-
conspirators and others managed and directed the operations of Hospital A, Pristine, and the
Hospital A and Pristine PHPs

c. Defendant STARSKY D. BOMER, his and defendant DR. SOHAIL R.
SIDDIQUI’s co-conspirators, and others paid kickbacks to Medicare beneficiaries who did not
meet the Medicare qualifications for or need PHP services to induce them to attend the Hospital
A and Pristine PHPs

d. Defendants DR. SOHAIL R. SIDDIQUI and STARSKY D. BOMER, CC-l,
their co-conspirators, and others paid CC-2 and other marketers to refer Medicare beneficiaries

who did not meet the Medicare qualifications for or need PHP services to the Hospital A and

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Pristine PHPs ln exchange for these beneficiary referrals, defendants DR. SOHAIL R.
SIDDIQUI and STARSKY D. BOMER, CC-l, their co-conspirators, and others paid CC-2 and
other marketers a kickback for each beneficiary who they referred to the Hospital A and Pristine
PHPs

35. Defendants DR. SOHAIL R. SIDDIQUI and STARSKY D. BOMER, CC-l,
CC-Z, CC-3, their co-conspirators, and others submitted or caused the submission of
approximately $16,942,218 in claims to Medicare for PHP and other services that they claimed
that Hospital A, Pristine, and the Hospital A and Pristine PHPs provided to beneficiaries whose
attendance at these hospitals and PHPs were induced by kickbacks Defendants DR. SOHAIL
R. SIDDIQUI and STARSKY D. BOMER, CC-l,, CC-Z, CC-3, their co-conspirators, and
others received approximately $6,392,076 on these claims

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36. In furtherance of the conspiracy, and to accomplish its object and purpose,
defendants DR. SOHAIL SIDDIQUI and STARSKY D. BOMER, CC-l, CC-Z, CC-3, their
co-conspirators, and others committed and caused to be committed, in the Houston Division of
the Southern District of Texas, the following overt acts:

a. On or about August 3, 2012, defendant SOHAIL R. SIDDIQUI and his
co-conspirators, including defendant STARSKY D. BOMER and CC-3, paid and caused the
payment of approximately $1,320 to CC-2 in exchange for CC-Z referring Medicare
beneficiaries to the Hospital A PHPs for PHP and other services

b. On or about August 9, 2012, defendant SOHAIL R. SIDDIQUI and his

co-conspirators, including defendant STARSKY D. BOMER and CC-3, paid and caused the

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payment of approximately $1,110 to CC-2 in exchange for CC-Z referring Medicare
beneficiaries to the Hospital A PHPs for PHP and other services
c. On or about November 2, 2012, defendant STARSKY D. BOMER and
his co-conspirators, including defendant DR. SOHAIL R. SIDDIQUI, paid and caused the
payment of` approximately $1,620 to CC-2 in exchange for CC-Z referring Medicare
beneficiaries to the Pristine PHPs for PHP and others services
d. On or about November 8, 2012, defendant STARSKY D. BOMER and
his co-conspirators, including defendant DR. SOHAIL SIDDIQUI, paid and caused the
payment of approximately $1,500 to CC-Z in exchange for CC-2 referring Medicare
beneficiaries to the Pristine PHPs for PHP and others services
All in violation of Title 18, United States Code, Section 371.
wm
Anti-Kickback Sitatute
(42 U.S.C. § 1320a-7b(b), 18 U.S.C. § 2)
37. Paragraphs 1 through 30 and 34 through 36 of this Indictment are realleged and
incorporated by reference as if fully set forth herein.
38. On or about the dates enumerated below, in Harris County, in the Southern

District of Texas, and elsewhere, the defendants

DR. SOHAIL SIDDl[QUI and
STARSKY D. BOMER

and their co-conspirators, including CC-l, CC-Z, and CC-3, aiding and abetting others known
and unknown to the Grand Jury, as set forth below, did knowingly and willfully offer and pay
and did knowingly and willfully solicit and receive remuneration, specifically, kickbacks and
bribes, directly and indirectly, overtly and covertly, in return for referring individuals for the

furnishing and arranging for the furnishing of any item and service for which payment may be

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made in whole or in part by Medicare; and for the purchasing, leasing, ordering and arranging for
and recommending the purchasing, leasing and ordering of any good, item and service for which

payment may be made in whole or in part by a F ederal health care program, that is, Medicare:

 

 

 

 

 

 

Count Defendant On or about Date Approximate Amount
of Kickback
2 SOHAIL R. SIDDIQUI paid CC-Z August 3, 2012 $1,320
3 SOHAIL R. SIDDIQUI paid CC-2 August 9, 2012 $1,110
4 STARSKY D. BOMER paid CC-2 November 2, 2012 $1,620
5 STARSKY D. BOMER paid CC-2 November 8, 2012 $1,500

 

 

 

 

 

All in violation of Title 42, United States Code, Section 1320a-7b(b) and Title 18, United
States Code, Section 2.

NoTICE oF CRIMINAL FoRFEITURE
(is U.s.c. §§ 982(3)(7), 981(3)(1)(€), and 28 U.s.C. § 2461)

39. Pursuant to Title 18, United States Code, Section 982(a)(7), as a result of the
criminal offenses charged in Counts One through Five of this lndictment, the United States of

America gives defendants

DR. SOHAIL R. SIDDIQUI and
STARSKY D. BOMER

notice that upon their conviction of any of the charged offenses, all property, real or personal,
that constitutes or is derived, directly or indirectly, from gross proceeds traceable to the
commission of any such offense, is subject to forfeiture.

40. Defendants DR. SOHAIL R. SIDDIQUI and STARSKY D. BOMER are

notified that upon conviction, a money judgment may be imposed equal to the total value of the

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property subject to forfeiture, in the amount of at least $6,392,076 in United States currency, for
which defendants DR. SOHAIL R. SIDDIQUI and STARSKY D. BOMER and their co-
conspirators may be jointly and severally liable.

41. In the event that the property subject to forfeiture as a result of any act or

omission of a defendant:

a. cannot be located upon the exercise of due diligence;

b. has been transferred or sold to, or deposited with, a third party;

c. has been placed beyond the jurisdiction of the court;

d. has been substantially diminished in value; or

e. has been commingled with other property which cannot be divided
without difficulty,

it is the intent of the United States to seek forfeiture of any other property of the defendants up to
the total value of the property subject to forfeiture, pursuant to Title 21, United States Code,
Section 853(p), incorporated by reference in Title 18, United States Code, Section 982(b)(1), and
Title 28, United States Code, Section 2461.

A TRUE BILL /
Original Signature on File
MER'so_N" " _i '

KENNETH MAGIDSON
UNITED STATES ATTORNEY

Jo A`T N T. BAUM

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CRIMINAL DIvIsioN, FRAUD sECTioN
U.s. DEPARTMENT oF JUsrlcE

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